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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE

ASTELLAS US LLC, et al, )
Plaintiffs,
v. Civ. No. 18-1675-CFC (Consolidated)
APOTEX, INC., et al.,
Defendants.
ORDER

Plaintiffs have filed objections (D.I. 878) to the Magistrate Judge’s
Memorandum Order issued on December 22, 2021 (D.I. 874). The Magistrate
Judge had the authority to issue the Memorandum Order under 28 U.S.C. §
636(b)(a)(A). I may reconsider the rulings in the Memorandum Order only if “it
has been shown that [they are] clearly erroneous or contrary to law.” Id.

I agree with the Magistrate Judge’s conclusion that the infringement
contentions and expert opinions in question were untimely. I also see no clear
error in the Magistrate Judge’s analysis of the Pennypack factors.

Now therefore, at Wilmington on this Fourth day of January in 2022,

Plaintiffs’ objections (D.I. 878) are OVERRRULED.

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Chief Judge

